        Case 2:24-cv-00049-AM Document 9-1 Filed 06/17/24 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                          DEL RIO DIVISION

OSCAR ORONA IANF of N.O., a minor, §
CRISTINA OLIVAREZ IANF of K.O., §
a minor, and ANGELICA RODRIGUEZ §
IANF of L.G., a minor, JOSE FLORES, §
Individually and as Representative     §
of the Estate of J.F., JR., deceased;  §
MANUEL LOZANO, Individually,           §
LYLIANA GARCIA, Individually;          §
ALEJANDRO GARCIA, Individually         §
and as Representative of the Estate of §
Irma Garcia, deceased; and ELSA        §
AVILA,                                 §
                                       §
       Plaintiffs,                     §
                                       §
v.                                     §   C.A. NO.: 2:24-CV-00049-AM
                                       §
CHRISTOPHER KINDELL, an                §
individual; VICTOR ESCALON, an         §
individual; JOEL BETANCOURT,           §
an individual; JUAN MALDONADO,         §
an individual; CRIMSON ELIZONDO, §
an individual; RICHARD BOGDANSKI, §
an individual; LUKE WILLIAMS, an       §
individual; UVALDE CONSOLIDATED §
INDEPENDENT SCHOOL DISTRICT §
AND/OR UCISD POLICE                    §
DEPARTMENT; PEDRO "PETE"               §
ARREDONDO, an individual; ADRIAN §
GONZALES, an individual; MANDY         §
GUTIERREZ, an individual, JESUS        §
"JJ" SUAREZ, an individual, TEXAS §
DEPARTMENT OF PUBLIC SAFETY §
OFFICERS DOE'S 1-84; and               §
MATOROLA SOLUTIONS, INC.,              §
                                       §
       Defendants.                     §
         Case 2:24-cv-00049-AM Document 9-1 Filed 06/17/24 Page 2 of 2




                                        ORDER

      Pending before the Court is Defendant Mandy Gutierrez’s Motion to Dismiss

Pursuant to Rules 12(b)(1) and (6). Upon consideration of the Motion, it is the opinion of

this Court that Ms. Gutierrez’s Motion should be GRANTED.


      It is, therefore, ORDERED that the Motion is GRANTED, and Plaintiffs’ claims

against Ms. Gutierrez are dismissed with prejudice.



      SIGNED this _____ day of ________________ 2024.




                                         ______________________________________
                                         UNITED STATES DISTRICT JUDGE




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